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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA

MONTRELL OLIVER,                          :                CIVIL ACTION
                                          :                (habeas corpus)
                     Petitioner           :
                                          :
              v.                          :                NO. 16-5537
                                          :
BARRY SMITH, et al.,                      :
                                          :
                     Respondents          :

             MOTION TO ALLOW JUNE BELL TO ENTER COURTHOUSE
                  WITHOUT A PHOTO IDENTIFICATION

       Montrell Oliver, through counsel, hereby moves the Court for an order allowing

June Bell, a witness for an August 24, 2022 evidentiary hearing, to enter the James A.

Byrne U.S. Courthouse, 601 Market Street, Philadelphia, Pennsylvania, 19106, without a

photo identification. Oliver relies on the grounds below.

1.     The Court has scheduled an evidentiary hearing in this habeas corpus matter for

August 24, 2022, at 11:00 a.m. in Courtroom 3-I. Petitioner is represented by the Federal

Community Defender Office for the Eastern District of Pennsylvania.

2.     June Bell is one of the witnesses whom Petitioner’s counsel has been subpoenaed

to testify at the hearing. Undersigned counsel has spoken to Ms. Bell, and Ms. Bell has

informed counsel that she lost her photo identification.

3.     To ensure Ms. Bell’s ability to enter the federal courthouse, Oliver requests an

order that Ms. Bell be permitted to enter the courthouse if accompanied by an employee

of the Federal Community Defender Office and a copy of the aforementioned order.
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      WHEREFORE, Oliver respectfully requests the Court permit June Bell to enter

the courthouse without a photo identification if accompanied by an employee of the

Federal Community Defender Office and a copy of the attached order.



                                        Respectfully submitted,

                                        /s/ Joel Mandelman
                                        JOEL MANDELMAN
                                        Assistant Federal Defender
                                        Federal Community Defender Office for the
                                        Eastern District of Pennsylvania
                                        601 Walnut Street
                                        The Curtis Center, Suite 540 West
                                        Philadelphia, PA 19106
                                        (215) 928-1100

                                        Counsel for Petitioner, Montrell Oliver




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                 IN THE UNITED STATES DISTRICT COURT
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MONTRELL OLIVER,                         :             CIVIL ACTION
                                         :             (habeas corpus)
                    Petitioner           :
                                         :
             v.                          :             NO. 16-5537
                                         :
BARRY SMITH, et al.,                     :
                                         :
                    Respondents          :

                                       ORDER


      AND NOW, this _______ day of August 2022, upon consideration of Petitioner’s

Motion to Allow June Bell to Enter the Courthouse without a Photo Identification, it is

hereby ORDERED:

1.    The motion is GRANTED.

2.    June Bell—a witness who has been subpoenaed by the Federal Community

      Defender Office to testify in an evidentiary hearing on August 24, 2022, at 11:00

      a.m. in Courtroom 3-I—may enter the James A. Byrne U.S. Courthouse on August

      24, 2022, without a photo identification if accompanied by an employee of the

      Federal Community Defender Office for the Eastern District of Pennsylvania and

      a copy of this Order.


                                         BY THE COURT:


                                         ELIZABETH HEY
                                         United States Magistrate Judge
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                             CERTIFICATE OF SERVICE

       I, Joel Mandelman, Assistant Federal Defender, Federal Community Defender

Office for the Eastern District of Pennsylvania, hereby certify that on this date this

document has been filed electronically and is available for viewing and downloading

from the Court’s ECF system. I have served this document electronically upon David

Napiorski, Assistant District Attorney, Philadelphia District Attorney’s Office.



                                           /s/ Joel Mandelman
                                           JOEL MANDELMAN
                                           Assistant Federal Defender
Date: August 18, 2022
